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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      December 30, 2020

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The parties jointly submit this letter in response to the Court’s December 28, 2020 Order
directing the parties to indicate whether they propose any redactions to the Court’s December 28,
2020 Opinion and Order denying the defense’s renewed bail motion. (Dkt. No. 104). After
conferring, the parties agree that no redactions need be applied to the Court’s December 28, 2020
Opinion and Order. Accordingly, the parties have no objection to the public filing of the complete
Opinion and Order without redactions.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney


                                             By:       s/
                                                   Maurene Comey / Alison Moe / Lara Pomerantz
                                                   Assistant United States Attorneys
                                                   Southern District of New York
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Cc: All Counsel of Record (By ECF)
